GLOBAL NOTES TO SCHEDULES AND STATEMENT OF FINANCIAL AFFAIRS OF
     DEBTOR, STREAM TV NETWORKS, INC., CASE NO. 21-10433(KBO)



        The Debtor develops its technology and conducts the majority of its business through its
direct and indirect foreign and domestic subsidiaries. The Debtor provided capital to its direct
and indirect foreign and domestic subsidiaries for the purpose of acquiring and developing assets
and to conduct business operations. The Debtor directs interested parties to the Declaration of
Mathu Rajan in Support of First Day Motions [Docket No. 51] in which the Debtor’s
organizational and operational structure is described in greater detail.

        In its bankruptcy schedules, the Debtor discloses and describes the assets, including its
ownership interest in direct subsidiaries and its contracts, that the Debtor owned or may have
owned as of February 24, 2021 (the “Petition Date”). The Debtor’s direct subsidiaries, in turn,
hold or may hold ownership interests in the Debtor’s indirect subsidiaries as depicted on the
Debtor’s Organization Chart included in Mr. Rajan’s Declaration. The assets of the Debtor’s
direct and indirect subsidiaries are not included in the Debtor’s bankruptcy schedules.

        It is important to note that, pursuant to an Omnibus Agreement, dated May 6, 2021,
between the Debtor’s senior secured lender, SLS Holdings VI, LLC (“SLS”) and a debt-
resolution committee of the Debtor’s Board of Directors purporting to act on the Debtor’s behalf,
which agreement is presently subject to litigation in the Chancery Court in Delaware, SLS
Holdings and its newly formed company, SeeCubic, Inc. (“SeeCubic”), assert an ownership
interest in all of the Debtor’s assets. SLS and SeeCubic possess some and claim to have obtained
possession or control of other of the Debtor’s assets shortly before the Petition Date. The
Debtor’s investigation into these claims is ongoing. Accordingly, at this time, the Debtor’s
present ownership of some of its assets may not be clear. The Debtor has listed the assets that it
believes it continues to own, unless otherwise expressly indicated in its bankruptcy schedules.
The Debtor intends to pursue recovery of assets and to operate its business under the provisions
of the Bankruptcy Code in this case.

Additional Notes:

       1.      Because US GAAP treatment may not apply to the Debtor’s assets located in
foreign jurisdictions, the values provided for certain assets may differ from typical accounting
standards.

        2.      Funding advanced by the Debtor to its direct and indirect subsidiaries are
reflected in intercompany loans.

      3.      The Debtor’s goodwill and similar intangible value is not reflected in the Debtor’s
bankruptcy schedules.

      4.       SeeCubic BV (the Netherlands) is a subsidiary of the Debtor, Stream TV
Networks, Inc. SeeCubic BV (the Netherlands) is unrelated to and is a separated entity from
SeeCubic Inc., a company newly formed in Delaware by SLS Holdings, Inc.



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 Fill in this information to identify the case:

 Debtor name         Stream TV Networks, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)             21-10433 (KBO)
                                                                                                                                               Check if this is an
                                                                                                                                               amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                      12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
           No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                     Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                 Amount of claim             Value of collateral
                                                                                                                                                 that supports this
                                                                                                                     Do not deduct the value     claim
                                                                                                                     of collateral.
 2.1   Andrew James Roughley                          Describe debtor's property that is subject to a lien                  $375,000.00            $211,927,167.28
       Creditor's Name                                All Assets
       Les Maltières,
       Le Chemin des Maltières
       Grouville, Jersey
       Channel Island JE3 9EB,
       UK
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                          No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                             No
       11/21/2019                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                             Contingent
           Yes. Specify each creditor,                    Unliquidated
       including this creditor and its relative           Disputed
       priority.
       1. Hawk Investment
       Holdings Limited
       2. SLS Holdings VI, LLC
       3. Andrew James Roughley
       4. Mark Daniel Roughley


 2.2
       Dell Financial Services
       L.L.C.                                         Describe debtor's property that is subject to a lien                    $43,585.84                 Unknown
       Creditor's Name                                Dell Computer Servers
       Mail Stop-PS2DF-23
       One Dell Way
       Round Rock, TX 78682
       Creditor's mailing address                     Describe the lien
                                                      UCC
                                                      Is the creditor an insider or related party?
                                                          No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                             No
       12/04/2018                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                   page 1 of 3
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 Debtor       Stream TV Networks, Inc.                                                                 Case number (if known)      21-10433 (KBO)
              Name

       6931
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                             Contingent
           Yes. Specify each creditor,                    Unliquidated
       including this creditor and its relative           Disputed
       priority.




 2.3
       Hawk Investment Holdings
       Limited                                        Describe debtor's property that is subject to a lien               $138,409,295.00      $211,927,167.28
       Creditor's Name                                All Assets
       Newport House, 15
       The Grange
       St Peter Port, Guernsey
       Channel Islands, UK GY1
       2QL
       Creditor's mailing address                     Describe the lien
                                                      Loan/Investment
                                                      Is the creditor an insider or related party?
                                                          No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                             No
       2014-2020                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                             Contingent
           Yes. Specify each creditor,                    Unliquidated
       including this creditor and its relative           Disputed
       priority.
       Specified on line 2.1

 2.4   Mark Daniel Roughley                           Describe debtor's property that is subject to a lien                      $375,000.00   $211,927,167.28
       Creditor's Name                                All Assets
       Apt 11, Old Court House
       La Rue a Don
       Grouville
       Jersey, Channel Island, UK
       JE3 9FS
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                          No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                             No
       11/21/2019                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                             Contingent
           Yes. Specify each creditor,                    Unliquidated
       including this creditor and its relative           Disputed
       priority.
       Specified on line 2.1

 2.5   SLS Holdings VI, LLC                           Describe debtor's property that is subject to a lien                $11,199,615.00      $211,927,167.28
       Creditor's Name                                All Assets
       Attn: Shad Stastney
       392 Taylor Mills Road
       Marlboro, NJ 07746

Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 2 of 3
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 Debtor       Stream TV Networks, Inc.                                                                 Case number (if known)      21-10433 (KBO)
              Name

       Creditor's mailing address                     Describe the lien
                                                      Loan/Investment
                                                      Is the creditor an insider or related party?
                                                          No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                             No
       2011-2012                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                             Contingent
           Yes. Specify each creditor,                    Unliquidated
       including this creditor and its relative           Disputed
       priority.
       Specified on line 2.1

 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                $150,402,495.84

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity
        Aaron S. Rothman, Esq.
        K&L Gates                                                                                               Line   2.3
        300 South Tryon Street
        Suite 1000
        Charlotte, NC 28202

        First Sentinel Advisory Limited
        Attn: Colin Maltby                                                                                      Line   2.3
        55 Park Lane, Suite 12A
        London W1K 1QG
        United Kingdom

        Jonathan Hackbarth, Esq.
        Quarles & Brady                                                                                         Line   2.5
        411 E. Wisconsin Avenue
        Suite 2400
        Milwaukee, WI 53202-4426




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 3 of 3
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